       Case: 4:23-cv-00099-JMB Doc. #: 13 Filed: 04/27/23 Page: 1 of 1 PageID #: 117

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
    Those Certain
   Underwriters at
 Lloyd's London, etc.     ,              )
             Plaintiff (s),              )
                                         )
                                                             4:23-cv-00099 JMB
      v.                                 )        Case No.
                                         )
 U-Drive Acceptance
 Corporation, et al.
                                         )
                       ,                 )
             Defendant(s).               )

                                   NOTICE OF INTENT TO USE
                                      PROCESS SERVER
                    Plaintiff
Comes now                       and notifies the court of the intent to use
         (Plaintiff or Defendant)
            Boone County Sheriff

      (name and address of process server)
             2121 County Drive


             Columbia, MO 65202


                              Debra Sue Hammons
To serve:
                                                          in the
      (name of defendants to be served by this process server)

above-styled cause. The process server listed above possesses the

requirements as stated in Rule 4 of the Federal Rules of Civil Procedure.

The undersigned affirms the information provided above is true and correct.
     04/27/2023                                          Michael L. Young

      (date)                                      (attorney for Plaintiff)


                                                  (attorney for Defendant)
